    Case: 1:24-cv-00742-SJD Doc #: 5 Filed: 12/30/24 Page: 1 of 1 PAGEID #: 121




                                      UNITED STATES DISTRICT COURT
                                       FOR THE Southern District of Ohio



Total Quality Logistics, LLC                                :     Case No. 1:24-cv-00742-SJD
                                                            :
           Plaintiff(s),                                    :     Judge Susan J. Dlott
     v.                                                     :
                                                            :
Thomas C Neal, et al.                                       :
                                                            :
           Defendant(s).                                    :

                                            NOTICE OF DEFICIENCY

The above-referenced civil action has been received and filed in this Court without the required
Supplemental Civil Cover Sheet.

Please correct this deficiency within 30 days by filing the attached Civil Cover Sheet.

If you have questions, please contact the Clerk's Office.

                                       Office of the Clerk
                                 Potter Stewart U.S. Courthouse
                                   100 East Fifth St., Rm. 103
                                     Cincinnati, Ohio 45202

                                Clerks_Office@ohsd.uscourts.gov


December 30, 2024                                     Richard W. Nagel
                                                      Clerk of Court

                                                      s/ Kelly M Heuer
                                                      Deputy Clerk
